               Case 25-40468               Doc 1            Filed 02/21/25 Entered 02/21/25 12:11:09                             Desc Main
                                                              Document     Page 1 of 15
 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS

 Case number (if known):                                    Chapter       11
                                                                                                                  Check if this is an
                                                                                                                     amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                       06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     13951 Highway 69 LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           9     9      –      2      4        8    8         7   0     4

4.   Debtor's address                  Principal place of business                                    Mailing address, if different from principal
                                                                                                      place of business

                                       2621 U.S. 69 Access Rd                                         Resolute Commercial Services, LLC
                                       Number        Street                                           Number      Street
                                                                                                      Attn: Jeremiah Foster
                                                                                                      P.O. Box
                                                                                                      6750 East Camelback Road, Suite 103

                                       Nederland                          TX       77627              Scottsdale                      AZ      85251
                                       City                               State    ZIP Code           City                            State   ZIP Code


                                                                                                      Location of principal assets, if different
                                       Jefferson                                                      from principal place of business
                                       County



                                                                                                      Number      Street




                                                                                                      City                            State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor 13951 Highway 69 LLC                                                               Case number (if known)

7.   Describe debtor's business       A. Check one:

                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above

                                      B. Check all that apply:

                                       Tax-exempt entity (as described in 26 U.S.C. § 501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)

                                       Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                      C.    NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                    Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                     Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                 4/01/25 and every 3 years after that).


                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet,
                                                                 statement of operations, cash-flow statement, and federal income tax return or if
                                                                 all of these documents do not exist, follow the procedure in
                                                                 11 U.S.C. § 1116(1)(B).


                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                 chooses to proceed under Subchapter V of Chapter 11.

                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                                 Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                                 form.


                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                 Rule 12b-2.

                                       Chapter 12
9.   Were prior bankruptcy             No
     cases filed by or against
     the debtor within the last 8      Yes. District                                            When                      Case number
     years?                                                                                               MM / DD / YYYY
                                                 District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                          MM / DD / YYYY
     separate list.
                                                 District                                        When                      Case number
                                                                                                          MM / DD / YYYY


Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 2
               Case 25-40468            Doc 1          Filed 02/21/25 Entered 02/21/25 12:11:09                                Desc Main
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Debtor 13951 Highway 69 LLC                                                              Case number (if known)

10. Are any bankruptcy cases           No
    pending or being filed by a
    business partner or an             Yes. Debtor See attached                                             Relationship
    affiliate of the debtor?
                                                   District                                                  When
    List all cases. If more than 1,                                                                                         MM / DD / YYYY
    attach a separate list.                        Case number, if known


                                                   Debtor                                                    Relationship

                                                   District                                                  When
                                                                                                                            MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.


                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or             No
    have possession of any
    real property or personal
                                       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
                                                 needed.
    property that needs
                                                 Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                       related assets or other options).


                                                  Other

                                                 Where is the property?
                                                                              Number      Street




                                                                              City                                     State        ZIP Code

                                                 Is the property insured?

                                                  No
                                                  Yes. Insurance agency
                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds
                                       Funds will be available for distribution to unsecured creditors.
                                       After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Affiliate Name              Case Number Relationship      Filed              District
10831 PHELAN BLVD LLC         25-40457    Affiliate    2/21/2025   ED Texas; Sherman Division
2307 GULFWAY DR LLC           25-40459    Affiliate    2/21/2025   ED Texas; Sherman Division
2873 LINK AVE LLC             25-40460    Affiliate    2/21/2025   ED Texas; Sherman Division
2958 HIGHWAY 365 LLC          25-40462    Affiliate    2/21/2025   ED Texas; Sherman Division
3252 EASTEX FWY LLC           25-40464    Affiliate    2/21/2025   ED Texas; Sherman Division
3954 N WHEELER LLC            25-40465    Affiliate    2/21/2025   ED Texas; Sherman Division
4763 N MAIN ST LLC            25-40467    Affiliate    2/21/2025   ED Texas; Sherman Division
13951 HIGHWAY 69 LLC                      Affiliate    2/21/2025   ED Texas; Sherman Division
10964 TWIN CITY HWY LLC                   Affiliate    2/21/2025   ED Texas; Sherman Division
13514 S LHS DR LLC                        Affiliate    2/21/2025   ED Texas; Sherman Division
13730 FRONTAGE RD LLC                     Affiliate    2/21/2025   ED Texas; Sherman Division
13950 FERRY DR LLC                        Affiliate    2/21/2025   ED Texas; Sherman Division
2271 WASHINGTON BLVD LLC,                 Affiliate    2/21/2025   ED Texas; Sherman Division
American QSR, Inc.                        Affiliate    2/21/2025   ED Texas; Sherman Division
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Debtor 13951 Highway 69 LLC                                                              Case number (if known)

14. Estimated number of                 1-49                              1,000-5,000                           25,001-50,000
    creditors
                                        50-99                             5,001-10,000                          50,001-100,000
                                        100-199                           10,001-25,000                         More than 100,000
                                        200-999
15. Estimated assets                    $0-$50,000                        $1,000,001-$10 million                $500,000,001-$1 billion
                                        $50,001-$100,000                  $10,000,001-$50 million               $1,000,000,001-$10 billion
                                        $100,001-$500,000                 $50,000,001-$100 million              $10,000,000,001-$50 billion
                                        $500,001-$1 million               $100,000,001-$500 million             More than $50 billion
16. Estimated liabilities               $0-$50,000                        $1,000,001-$10 million                $500,000,001-$1 billion
                                        $50,001-$100,000                  $10,000,001-$50 million               $1,000,000,001-$10 billion
                                        $100,001-$500,000                 $50,000,001-$100 million              $10,000,000,001-$50 billion
                                        $500,001-$1 million               $100,000,001-$500 million             More than $50 billion
              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative            this petition.
    of debtor
                                        I have been authorized to file this petition on behalf of the debtor.

                                        I have examined the information in this petition and have a reasonable belief that the information is
                                         true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 02/21/2025
                                                      MM / DD / YYYY



                                          X /s/ Jeremiah Foster
                                              Signature of authorized representative of debtor
                                              Jeremiah Foster
                                              Printed name
                                              Chief Restructuring Officer
                                              Title

18. Signature of attorney                X /s/ Howard Marc Spector                                               Date   02/21/2025
                                            Signature of attorney for debtor                                            MM / DD / YYYY

                                            Howard Marc Spector
                                            Printed name
                                            Spector & Cox, PLLC
                                            Firm name
                                            12770 Coit Rd
                                            Number          Street
                                            Suite 850

                                            Dallas                                                     TX                75251
                                            City                                                       State             ZIP Code


                                            (214) 365-5377                                             hms7@cornell.edu
                                            Contact phone                                              Email address
                                            00785023                                                   TX
                                            Bar number                                                 State



Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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                                                      Document     Page 6 of 15
 Fill in this information to identify the case:
 Debtor name        13951 Highway 69 LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number                                                                                                           Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional          unliquidated,   secured, fill in total claim amount and
                                contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Auxilior Capital Partners                          Goods and/or                                                           12,300,000.00
    c/o Todd Jones                                     services rendered
    Snell & Wilmer
    1 E Washington St, Ste
    2700
    Phoenix, AZ 85004
2   Paris Ackerman LLP                                 Goods and/or                                                             $128,000.00
    120 Eagle Rock Ave.                                services rendered
    East Hanover, NJ 7936




3   STERITECH                                          Goods and/or                                                               $86,000.00
    PO BOX 472127                                      services rendered
    Charlotte, NC 28247




4   NCR                                                Goods and/or                                                               $79,317.31
    864 Spring St NW                                   services rendered
    Atlanta, GA 30308




5   AMERICAN FOOD OF                                   Goods and/or                                                               $58,260.00
    BEAUMONT                                           services rendered
    906 TERSCOTT LN.
    Sugar Land, TX 77479




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 1
               Case 25-40468          Doc 1       Filed 02/21/25 Entered 02/21/25 12:11:09                         Desc Main
                                                    Document     Page 7 of 15
Debtor       13951 Highway 69 LLC                                               Case number (if known)
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
6   ECOLAB/ECOLAB PEST                              Goods and/or                                                               $27,575.44
    370 N WABASHA                                   services rendered
    STREET
    ST PAUL, MN 55102



7   AMERICAN FOOD                                   Goods and/or                                                               $22,000.00
    REALTY                                          services rendered
    11111 RICHMOND AVE.
    STE 120
    Houston, TX 77082

8   BEAUXART PROPERTY                               Goods and/or                                                               $20,000.00
    1403 RAVENEL LN.                                services rendered
    Sugar Land, TX 77479




9   CALDER PROPERTY                                 Goods and/or                                                               $16,000.00
    GROUP                                           services rendered
    906 TERSCOTT LN.
    Sugar Land, TX 77479



10 COCA COLA                                        Goods and/or                                                               $15,357.94
   1 Coca Cola Plz NW                               services rendered
   Atlanta, GA 30313




11 MOSCONE EMBLIDGE                                 Goods and/or                                                               $11,633.76
   AND RUBENS                                       services rendered
   220 Montgomery Street,
   Suite 2100
   San Francisco, CA
   94104
12 FIRETROL PROTECTION                              Goods and/or                                                               $11,587.73
   SYSTEMS, INC.                                    services rendered
   153 Technology Drive
   Suite #200
   Irvine, CA 92618

13 AMIN DHANANI                                     Goods and/or                                                                $8,000.00
   4415 HIGHWAY 6                                   services rendered
   SUGAR LAND, TX 77478




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
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                                                      Document     Page 8 of 15
Debtor       13951 Highway 69 LLC                                                 Case number (if known)
             Name


 Name of creditor and           Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor              professional          unliquidated,   secured, fill in total claim amount and
                                contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                      government                            calculate unsecured claim.
                                                      contracts)
                                                                                            Total           Deduction       Unsecured
                                                                                            claim, if       for value       claim
                                                                                            partially       of
                                                                                            secured         collateral
                                                                                                            or setoff
14 REPUBLIC SERVICES                                  Goods and/or                                                                $7,653.87
   18500 N Allied Way                                 services rendered
   Phoenix, AZ 85054




15 RF TECHNOLOGIES                                    Goods and/or                                                                $7,166.84
   3125 NORTH 126TH                                   services rendered
   STREET
   BROOKFIELD, WI 53005



16 BEAUMONT WESTMONT                                  Goods and/or                                                                $6,337.92
   LLC                                                services rendered
   350 PINE ST. #800
   BEAUMONT, TX 77701



17 SUMMIT FIRE &                                      Goods and/or                                                                $6,229.30
   SECURITY                                           services rendered
   1025 Telegraph St.
   Reno, NV 89502



18 Paycom                                             Goods and/or                                                                $4,680.00
   417 OAKBEND DR.                                    services rendered
   LEWISVILLE, TX 75067




19 CENTERPOINT                                        Goods and/or                                                                $4,319.64
   1 E MARKET STREET,                                 services rendered
   SUITE 203
   Leesburg, VA 20176



20 SPECTRIO                                           Goods and/or                                                                $3,878.00
   7624 Bald Cypress Place                            services rendered
   Tampa, FL 33614




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
               Case 25-40468                Doc 1       Filed 02/21/25 Entered 02/21/25 12:11:09                             Desc Main
                                                          Document     Page 9 of 15
 Fill in this information to identify the case and this filing:
 Debtor Name         13951 Highway 69 LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:



              Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

              Other document that requires a declaration

             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 02/21/2025                       X /s/ Jeremiah Foster
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Jeremiah Foster
                                                              Printed name
                                                              Chief Restructuring Officer
                                                              Position or relationship to debtor




Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                      UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF TEXAS
                                              SHERMAN DIVISION
  IN RE:   13951 Highway 69 LLC                                                    CASE NO

                                                                                  CHAPTER         11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 2/21/2025                                          Signature   /s/ Jeremiah Foster
                                                                    Jeremiah Foster
                                                                    Chief Restructuring Officer




Date                                                    Signature
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                   ABI-ACE BACKFLOW
                   4820 Highland Ave.
                   Beaumont, TX 77705



                   ACE GLASS & MIRROR
                   716 S TWIN CITY HWY
                   NEDERLAND, TX 77627



                   AMERICAN FOOD OF BEAUMONT
                   906 TERSCOTT LN.
                   Sugar Land, TX 77479



                   American Food of Beaumont
                   Attn: Greg Hobbs
                   906 Terscott Lane
                   Sugar Land, TX 77479


                   AMERICAN FOOD REALTY
                   11111 RICHMOND AVE. STE 120
                   Houston, TX 77082



                   AMIN DHANANI
                   4415 HIGHWAY 6
                   SUGAR LAND, TX 77478



                   Auxilior Capital Partners
                   c/o Todd Jones
                   Snell & Wilmer
                   1 E Washington St, Ste 2700
                   Phoenix, AZ 85004

                   BEAUMONT WESTMONT LLC
                   350 PINE ST. #800
                   BEAUMONT, TX 77701



                   BEAUXART PROPERTY
                   1403 RAVENEL LN.
                   Sugar Land, TX 77479
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                   Beauxart Property LLC
                   19602 Country Lake Dr.
                   Magnolia, TX 77355



                   BILL L DOVER CO INC
                   HWY #96 SOUTH
                   Jasper, TX 75951



                   BINSWANGER GLASS
                   1717 ARCH ST STE 5100
                   PHILADELPHIA, PA 19103



                   CALDER PROPERTY GROUP
                   906 TERSCOTT LN.
                   Sugar Land, TX 77479



                   CENTERPOINT
                   1 E MARKET STREET, SUITE 203
                   Leesburg, VA 20176



                   City of Nederland
                   207 North 12th Street
                   Nederland, TX 77627



                   COCA COLA
                   1 Coca Cola Plz NW
                   Atlanta, GA 30313



                   COMCAST
                   1701 JFK Boulevard
                   Philadelphia, PA 19103



                   CROWN ELECTRIC, INC
                   PO BOX 12148
                   BEAUMONT, TX 77726
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                   Diversified Foods and Seasonings
                   1404 Greengate Drive Suite 300
                   Covington, LA 70433



                   ECOLAB/ECOLAB PEST
                   370 N WABASHA STREET
                   ST PAUL, MN 55102



                   FIRETROL PROTECTION SYSTEMS, INC.
                   153 Technology Drive Suite #200
                   Irvine, CA 92618



                   Internal Revenue Service
                   PO Box 7346
                   Philadelphia, PA 19101-7346



                   JACKSON LEWIS P.C.
                   44 S Broadway 14th floor
                   White Plains, NY 10601



                   Jefferson County Tax Assessor Collector
                   Jefferson County Court House,
                   1149 Pearl St
                   Beaumont, TX 77701


                   MOSCONE EMBLIDGE AND RUBENS
                   220 Montgomery Street, Suite 2100
                   San Francisco, CA 94104



                   MR. ELECTRIC OF BEAUMONT
                   826 Chamberlin Dr.
                   Beaumont, TX 77707



                   NCR
                   864 Spring St NW
                   Atlanta, GA 30308
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                   Nederland ISD
                   220 17th Street
                   Nederland, TX 77627



                   Paris Ackerman LLP
                   120 Eagle Rock Ave.
                   East Hanover, NJ 7936



                   Paycom
                   417 OAKBEND DR.
                   LEWISVILLE, TX 75067



                   Popeyes Louisiana Kitchen, Inc.
                   5707 Blue Lagoon Drive
                   Miami, Florida 3312



                   REPUBLIC SERVICES
                   18500 N Allied Way
                   Phoenix, AZ 85054



                   RF TECHNOLOGIES
                   3125 NORTH 126TH STREET
                   BROOKFIELD, WI 53005



                   SPECTRIO
                   7624 Bald Cypress Place
                   Tampa, FL 33614



                   State Comptroller of Public Accounts
                   Revenue Accounting Divi-Bankruptcy Se
                   P.O. Box 13528
                   Austin, Texas 78711


                   STERITECH
                   PO BOX 472127
                   Charlotte, NC 28247
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                   STRATACACHE INC
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                   Dayton, OH 45423



                   SUMMIT FIRE & SECURITY
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                   Reno, NV 89502



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                   VIKING CLOUD, INC
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                   WASSERSTROM
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